Case 1:18-cv-00407-RJJ-RSK ECF No. 22-4, PagelD.101 Filed 07/10/18 Page 1of5

Exhibit

" Registered Ne, REAL RL SLL FOS Hate Stamp ||

OG

Postage S$ By, 4 F Extra Serviess & Fees
| foarstinetacl))

. a
Extra Services & Fegsy seers Confirmation . =
4 ie a

” |C Registered Mail $ ;
2 o Cpeten Recett $3 = jee Cetvate ak
#3 fharceapy) §. ’ or a pares Delivery |
= OReten F Reogint fy - ries 7 }
ag falsctranie| SFA say Fstaea e Fees ’ / o f
BS |DRestricted Delivery 5. § fyi . yk Aes
ee hs Le io

Customer Myst Dagjere Feces me sori = Dein Jee 0,000

Fat Value dectared valve. Internaiional ;
$ . . Indamnity is fmited. (See Reverse).

oui GiA si USE

Li (iyoup PLLC Maran
in Spies tf OW ee
Wuomind, AT

=

FROM

To Ba Completed Sy Cuslomer
(Pisase Print)

Bo Bo te
ne, Pe GIO

AW Entrles Wtust Be In Ballpoint or Typed

PS Form 3806, ee ree Mail Receipt Copy 1 - Customer

April 2015, PSN 7590-02.000-946

{See Information an Reverse!
For domestic delivery information, visit our website at wwu.usps.com ®

&

Registered Na.
Date Stamp
Beet Th osc “ee
Extra Services & Faas
Aronia!

Dsignature Confirmation

(J Repisteres Mail $

Bo
a .
Sa {CRetun Reeeiat (71Signature Cootirmadion
ze fharocopy & Restricted Delivery
ES Cifetum Receipt $275

a ecronic, i eS]
oe ? $5 Le Total Postage & Foes
© ClRestricted Detvery 1 2 5
o
E

Fecha ke

Gomesie i MSurance up la £50,000
ig inckxied basad upon the
detired value, Intemational
Indemnly' lirsited, (See Reverse}.

Cusiomer Must Deciare
Full Value
r

$00 C429 7301 B

7

&

> .
a FS
z 5/5
a E,|&
=z ofit
eon
mis
e738
oe eo:
gat:
a a
$53!
BE a!
a5
Oo 8)
o ow
a 2

=
e& :

Hi

=

Us
tek SE ile
2806, gistered Mall Receipt Copy t - Gustomer

April 2015, PSN 75adl0E-con-a06
8 1
e& Infonet,
For domastic Gelivery information, visit Our website a Www, eps con eee!

uF
1 oo
Tye pam ie eI
Firé.-biaes 1 $1.63
at]
Larose Envelope
{Domestics

(BRIGHTON, MI d@iid}
(weiaht:G Lp 3.79 Gz}
(Estimated Delivery Date)
iThursdey 06/21/2018:
Reg Mai] t $16.95
RetrDel
famount $0.00}
(BBUSPS Registered Mail #)
(PE418191206u8)
‘Recipient mame:MARILYN
LULGJURAD)
Return 1 fo. Fo
Receipt .
(@BUSPS Return Receipt #}
B07 FOS4ea 4o37 >

Text your tracking number to 28777
(QUSPS} to get the latest status.
Standard Messaae and Data retes may
aoply. You may also visit www.usps com
USPS Tracking or cal] 1-800-222-1221.

Save this receipt as evidence of
insurance. Far intormation om Tiling
an insurance claim go ta

https: //wuw.usps.com/help/cl aims. him,

Preview vour Mai]
Track your Packages
Sign up for FREE @

‘igwe. Intormeddel ivery.com

Al] sales final on stamps and postage
Refunds for guaranteed services only
Thank you for your business

bce He CERVE VM} RETTFE

#8078 Case 1:18-cv-00407-RJJ-RSK ECF NO? 33% “Pag&p"t0a** Filed 07/10/18 Page 4 of 5

U ! pS Tracki ng FAGs » (hittn://fac.usps.com/?articleld=220000}

Track Another Package +

Tracking Number: RE418131206US Remove X

We attempted to deliver your item at 12:07 pm on June 27, 2018 in BRIGHTON, MI 481714 and a
notice was left because an authorized recipient was not available.

Delivery Attempt

June 27, 2018 at 12:07 pm
Notice Left (No Authorized Recipient Availabie}
BREGHTON, MI 48114

Get Updates \“

Text & Email Updates Vv

Tracking History . . os

June 27, 2018, 12:07 pm

Notice Left (No Authorized Recipient Available)

BRIGHTON, MI 48114

We attemptec to detiver your item at 12:07 pm on June 27, 2018 in BRIGHTON, Mi 48114 and a notice
was left because an authorized recipient was not available,

ees nite June 28, 2018
Redelivery Scheduled
BRIGHTON, MI 48114

Reminderto Schedule Redelivery of your item

nttos:/Hools .usps.com/go/TrackConfirmAction?tRef=tullpage&tLo=4&text28777=&tLabels=re4 18131 208us%20%20%20 4
"329° Case 1:18-cv-00407-RJJ-RSK ECF No? 93%, "“Pagaty405* Filed 07/10/18 Page 5 of 5
June 21, 2018, 2:37 pm
Notice Left (No Authorized Recipient Available}
BRIGHTON, MI 48114

June 21, 2018, 8:29 am
Out for Delivery
BRIGHTON, MI 48114

June 21, 2078, 8:19 am
Sorting Complete
BRIGHTON, MI 481174

June 21, 2018, 8:09 am
Arrived at Unit
BRIGHTON, MI 48116

June 20, 2018, 10:14 pm
Departed USPS Facility
DETROIT, Mi 48233

June 20, 2018, 9:58 am
Arrived at USPS Regional Facility
DETROIT MI DISTRIBUTION CENTER

June 19, 2018, 10:37 pm
Departed USPS Facility
GRAND RAPIDS, MI 48501

dune 18, 2018, 10:32 pm
Arrived at USPS Facility
GRAND RAPIDS, MI 49501

- June 19, 2018, 7:44 pm
Departed Post Office
WYOMING, MI 49508

June 19, 2018, 6:42 pm
USPS in possession of item
WYOMING, MI 49509

https:/teols.usps.com/go/TrackConfirmAction 7tRef=tulipageétL_c=4étext28777=&tLabels=re4 18137 206us %20%20%20 a4
